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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

ANDRE DESROSIERS,
individually and on behalf
of similarly situated individuals,
                                                                    Case No. 14-13704
                       Plaintiff,

       v.
                                                                    CLASS ACTION
ASSET ACCEPTANCE, LLC,
                                                                    JURY DEMANDED
                     Defendant.
____________________________________/
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Counsel for Plaintiff
___________________________________/

                                         COMPLAINT

                                       INTRODUCTION

       1.       Plaintiff, Andre Desrosiers, (“Plaintiff”), brings this action individually and on

behalf of a class of similarly situated persons against Defendant Asset Acceptance LLC (“Asset

Acceptance”).

       2.       On January 31, 2012, Asset Acceptance entered into a Consent Decree in the

matter, United States of America v. Asset Acceptance, LLC, No. 8:12-cv-182-T27EAJ, Doc. 5,
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Consent Decree (M.D. Fla. Jan. 31, 2012), (the “Consent Decree”), in which Asset Acceptance

specifically agreed under certain conditions when collecting a debt to state in the collection letter,

“The law limits how long you can be sued on a debt. Because of the age of your debt, we will

not sue you for it.”

            3.   Despite Asset Acceptance entering into the Consent Decree, Asset Acceptance

continued its practice of attempting to collect time barred debts without including the quoted

language in the Consent Decree in its form collection letters.

            4.   Asset Acceptance violated the Fair Debt Collection Practices Act (“FDCPA”) in

impermissibly attempting to collect a debt from Plaintiff that was barred by the Michigan six (6)

year statute of limitations in sending him a Settlement Offer a 95% Discount off the debt.

(Exhibit A).

                                   JURISDICTION AND VENUE

            5.   This Court has jurisdiction under 28 U.S.C. § 1331 (Federal Question), 15 U.S.C.

§1692k (FDCPA).

            6.   Venue and personal jurisdiction over Defendant in this District is proper because:

                 a. Plaintiff resides in the District; and

                 b. Asset Acceptance’s principal office is located at 28405 Van Dyke Ave.,

                 Warren, Michigan; and

                 c. Asset Acceptance used P.O. Box 2036, Warren, MI 48090-2036, as the return

                 address in the subject letter.



                                                  PARTIES

           7.    Plaintiff is a natural person who resides within Wayne County, Michigan.




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           8.     Asset Acceptance, LLC is a limited liability company chartered under Delaware

law. Asset Acceptance’s registered agent in the State of Michigan is CSC-Lawyers Incorporating

Service (Company), 601 Abbot Road, East Lansing, MI 48823.

           9.     Asset Acceptance is a debt collector under the FDCPA in that it attempts to

collect debts purchased from original creditors that are in default. See McDonald v. Asset

Acceptance, LLC, 296 F.R.D. 513 (E.D. Mich. 2013) (fining class wide liability under the

FDCPA against Asset Acceptance); see also Asset Acceptance Corp. v. Robinson, 244 Mich.

App. 728, 734 (Mich. App. 2001).

                                                FACTS

            10.   Plaintiff incurred a debt for personal, family or household purposes, fell upon

hard times and subsequently defaulted on his obligations.

            11.   On information and belief, Asset Acceptance purchased Plaintiff’s debt in a

portfolio of similar debts at pennies on the dollar.

            12.   Asset Acceptance attempted to collect the debt Plaintiff was in default on.

            13.   As part of Asset Acceptance’s attempt to collect a debt from Plaintiff, Asset

Acceptance sent, or caused to be sent, a letter dated March 1, 2014, (Defendant’s “letter”), of

which a redacted copy of the front of the letter which is as follows:




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           14.   The back of Defendant’s Letter is as follows:




           15.   Defendant’s letter offers a “95% DISCOUNT” off the “current balance” of the

debt and notes that “the Current Balance was calculated on 02/18/2014 and may vary due to

payments and/or accrual of interest after that date.”




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           16.   An unsophisticated consumer reading a letter in the form of Defendant’s letter

could have been lead to believe that their debt was legally enforceable.

           17.   Plaintiff at or around the time he received the collection letter was trying to clear

up his credit as he was doing financially better.

           18.   Plaintiff initially was going to pay Asset Acceptance the debt in Defendant’s letter,

but for advice of counsel decided not to make a payment on it.

           19.   The debt reflected in Defendant’s letter has been in default for more than six years.

           20.   Asset Acceptance knew that the debt reflected in Defendant’s letter was time

barred.

           21.   Asset Acceptance should have known the debt reflected in Defendant’s letter was

time barred.

           22.   The debt referenced in Defendant’s letter is not listed on Experian’s consumer

report regarding Plaintiff.

           23.   According to Experian, on January 4, 2013, Asset Acceptance made an inquiry

into Plaintiff’s credit history.

           24.   Charged off credit card accounts typically remain on a person’s consumer report

for approximately seven years.

           25.   It is unlikely that Asset Acceptance lacked any knowledge of the age of Plaintiff’s

debt in Defendant’s letter it sought to collect.

           26.   Plaintiff disputed the validity of the debt in Defendant’s letter and in response

Asset Acceptance closed the account and stated that the balance of the debt was zero.

           27.   Asset Acceptance entered into a Consent Decree in the matter, United States of

America v. Asset Acceptance, LLC, No. 8:12-cv-182-T27EAJ, Doc. 5, Consent Decree (M.D. Fla.




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Jan. 31, 2012), in which it specifically agreed under certain conditions when collecting a debt to

state in the collection letter, “The law limits how long you can be sued on a debt. Because of the

age of your debt, we will not sue you for it.”

           28.   Defendant’s letter fails to contain the language Asset Acceptance agreed to in its

Consent Decree.

           29.   The Federal Trade Commission (“FTC”) has found that nondisclosure of the fact

that a debt is time-barred might deceive a consumer in at least two ways: first, because most

consumers do not know or understand their legal rights with respect to the collection of time-

barred debt, attempts to collect on such debt may create a misleading impression that the

consumer has no defense to a lawsuit; and second, consumers often do not know that in many

states the making of a partial payment on a stale debt actually revives the entire debt even if it

was otherwise time-barred.

           30.   Given the potential for confusion, and to avoid creating a misleading impression,

the FTC recommended that if a collector knows or should know that it is collecting on a time-

barred debt, it must inform the consumer that (1) the collector cannot sue to collect the debt, and

(2) providing partial payment would revive the collector's ability to sue to collect the remaining

balance.

           31.   Most consumers do not understand their legal rights with respect to time-barred

debts.

           32.   The use of the phrase “Settlement Offer” to the unsophisticated consumer is a

phrase used in a civil lawsuit to describe a communication from one party to the other suggesting

a settlement – an agreement to end the lawsuit before a judgment is rendered.




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                                              COUNT I

           33.   Plaintiff incorporates paragraphs 1-32 above herein.

           34.   15 U.S.C § 1692e, in pertinent part, provides:

                    A debt collector may not use any false, deceptive, or misleading
                    representation or means in connection with the collection of any debt. Without
                    limiting the general application of the foregoing, the following conduct is a
                    violation of this section:

                    ***

                    (2) The false representation of --

                        (A) the character, amount, or legal status of any debt. . . .

                    ***

                    (5) The threat to take any action that cannot legally be taken or
                    that is not intended to be taken. . . .

                    ***

                    (10) The use of any false representation or deceptive means to collect or
                    attempt to collect any debt or to obtain information concerning a consumer.

           35.   15 U.S.C § 1692f provides in part that, “A debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt.”

           36.   Michigan’s statute of limitations applicable to the debt in Defendant’s letter is 6

years.

           37.   Asset Acceptance attempted to collect a debt from Plaintiff that was barred by the

Michigan Statute of Limitations.

           38.   Defendant’s letter violates 15 U.S.C. §§ 1692 e(2)(A),(5),(10), and 1692f.

                                      CLASS ALLEGATION

           39.   The class consists of: All individuals who were sent a letter, and the letter was

not returned, in the form of Defendant’s letter sent to Plaintiff making a Settlement Offer with a



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95% discount without containing the language in the Consent Decree, “The law limits how long

you can be sued on a debt. Because of the age of your debt, we will not sue you for it”, at any

time between one year prior to the filing of this lawsuit and 20 days thereafter, where the debt

was time barred by the applicable statute of limitations.

           40.   The subclass consists of: All individuals with a Michigan address who were sent a

letter, and the letter was not returned, in the form of Defendant’s letter sent to Plaintiff making a

Settlement Offer with a 95% discount without containing the language in the Consent Decree,

“The law limits how long you can be sued on a debt. Because of the age of your debt, we will

not sue you for it”, at any time between one year prior to the filing of this lawsuit and 20 days

thereafter, where the debt was time barred by the Michigan six-year statute of limitations.

           41.   On information and belief, the class and subclass are so numerous that joinder of

all members is impractical.

           42.   Plaintiff alleges on information and belief that there are more than 40 members of

the class and subclass defined above.

           43.   There are questions of law and fact common to the class and subclass that

predominate over any questions affecting only individual class members.

           44.   The predominant common question is whether Asset Acceptance violated the

FDCPA when it attempt to collect a time barred debt and did not inform the debtor that, “The

law limits how long you can be sued on a debt. Because of the age of your debt, we will not sue

you for it.”

           45.   Plaintiff will fairly and adequately protect the interests of the class and subclass.

           46.   Plaintiff has retained Curtis C. Warner who is counsel experienced in handling

class actions and claims involving unlawful business practices.




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       47.     A class action is an appropriate method for the fair and efficient adjudication of

this controversy.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff, the

class and subclass and against Asset Acceptance for, statutory damages, actual damages,

attorney’s fees and costs of suit.

                                       Respectfully submitted,

                                      s/ Curtis C. Warner
                                         Curtis C. Warner

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                                        JURY DEMAND

               Plaintiff demands a trial by jury.


                                      Respectfully submitted,

                                      s/ Curtis C. Warner
                                         Curtis C. Warner

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